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                 IN THE UNITED STATES DISTRICT COURT F             pRTHE,NOP?|i?ouRT_
                           EASTERN DISTRICT OF VIRGINIA


                                    Alexandria Division
                                                                                 - 8 2018
                                                                        mi>K. U.S. DISTRICT COURT
                                                                          ftLEKj^RlA.VIRGINIA

 UNITED STATES OF AMERICA                    CRIMINAL NO.: 1:18-CR-410


           V.                                Count 1: Coercion and Enticement of a Minor
                                             (18 U.S.C.§ 2422(b))
 SEITU SULAYMAN KOKAYI,
                                             Count 2: Coercion and Enticement of a Minor
                                             (18 U.S.C.§ 2422(b))
                             Defendant.
                                             Count 3: Transfer of Obscene Materials to a
                                             Minor(18 U.S.C.§ 1470)




                NOVEMBER 2018 TERM - AT ALEXANDRIA,VIRGINIA

                                   INDICTMENT

                                       COUNT ONE
                           (Coercion and Enticement of a Minor)

THE GRAND JURY CHARGES THAT:


       From on or about August 2, 2018, and continuing through on or about August 22,

2018, within the Eastern District of Virginia and elsewhere, the defendant, SEITU

SULAYMAN KOKAYI,did knowingly use a facility or means of interstate commerce to

knowingly persuade, induce, entice and coerce and attempt to persuade, induce, entice

and coerce a fifteen year-old girl to engage in sexual activity for which any person can be

charged with a criminal offense, specifically, to produce child pornography in violation of

Title 18, United States Code, Section 2251, Code of Virginia, Section 18.2-374.1, and

Minnesota Statutes, Section 617.246.

                (In violation ofTitle 18 United States Code, Section 2422(b))
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